JS 44 (Rev. 04/21)       Case 3:25-cv-11278                            CIVIL COVER
                                                                      Document        SHEET
                                                                               1-1 Filed 06/13/25                                       Page 1 of 1 PageID: 8
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                      DEFENDANTS
                                                                                                                                                                     Washington County
                                                                 Ocean                                                                                               Pennsylvania
   (b) County of Residence of First Listed Plaintiff                                                   County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                       NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                  THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
        The Law Offices of Richard Malagiere, PC
        250 Moonachie Road, Suite 300A, Moonachie, NJ
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                      and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                  PTF           DEF                                        PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                    Citizen of This State            1X            1     Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government
         Defendant
                                    X4 Diversity
                                         (Indicate Citizenship of Parties in Item III)
                                                                                              Citizen of Another State              2
                                                                                                                                          X 2 Incorporated and Principal Place
                                                                                                                                                of Business In Another State
                                                                                                                                                                                          5   X5
                                                                                              Citizen or Subject of a               3          3   Foreign Nation                         6       6
                                                                                                Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                 Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                          FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY           625 Drug Related Seizure                422 Appeal 28 USC 158           375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -          of Property 21 USC 881              423 Withdrawal                  376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability      690 Other                                   28 USC 157                      3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                     INTELLECTUAL                  400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                 410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                                820 Copyrights                  430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                              830 Patent                      450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated        460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                     New Drug Application        470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                      840 Trademark                       Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                    LABOR                          880 Defend Trade Secrets        480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud            710 Fair Labor Standards                    Act of 2016                     (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending           Act                                                                 485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal         720 Labor/Management                    SOCIAL SECURITY                     Protection Act
  195 Contract Product Liability   X  360 Other Personal                  Property Damage            Relations                           861 HIA (1395ff)                490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage        740 Railway Labor Act                   862 Black Lung (923)            850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability      751 Family and Medical                  863 DIWC/DIWW (405(g))              Exchange
                                          Medical Malpractice                                        Leave Act                           864 SSID Title XVI              890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS          790 Other Labor Litigation              865 RSI (405(g))                891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:             791 Employee Retirement                                                 893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee             Income Security Act                 FEDERAL TAX SUITS               895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff           Act
  240 Torts to Land                   443 Housing/                        Sentence                                                            or Defendant)              896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                        871 IRS—Third Party             899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty              IMMIGRATION                              26 USC 7609                    Act/Review or Appeal of
                                          Employment                  Other:                     462 Naturalization Application                                              Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other       465 Other Immigration                                                   950 Constitutionality of
                                          Other                       550 Civil Rights               Actions                                                                 State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
X1 Original
   Proceeding
                          2 Removed from
                            State Court
                                                            3      Remanded from
                                                                   Appellate Court
                                                                                          4 Reinstated or
                                                                                            Reopened
                                                                                                                        5 Transferred from
                                                                                                                          Another District
                                                                                                                                                  6 Multidistrict
                                                                                                                                                     Litigation -
                                                                                                                                                                    8 Multidistrict
                                                                                                                                                                       Litigation -
                                                                                                                          (specify)                  Transfer          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity): Common law negligence
VI. CAUSE OF ACTION Brief description of cause:
                                                                         Hotel guest slipped and fell in dangerous shower
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                      DEMAND $                                      CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:               XYes           No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                        JUDGE                                                                DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
         June 13, 2025                                                   s/ Leonard E. Seaman
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                  JUDGE                              MAG. JUDGE
